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 1
                            UNITED STATES DISTRICT COURT FOR THE
 2                            WESTERN DISTRICT OF WASHINGTON
 3                                      AT TACOMA

 4
 5    UNITED STATES OF AMERICA,                          NO. CR12-5139BHS
                            Plaintiff
 6                                                       ORDER TO SEAL
 7
                       v.
 8
      KENNETH DOOR,
 9
                            Defendant.
10
11          Having read the Government’s Motion to Seal (Dkt. 164), and because of sensitive

12 information contained within the United States’ Response,
13
14          It is hereby ORDERED that the United States’ Response to Defendant’s Motion to

15 Continue Sentencing remain sealed.
16
            DATED this 9th day of October, 2014.
17
18
19
20
21
                                                A
                                                BENJAMIN H. SETTLE
                                                United States District Judge
22
     Presented by:
23
     S/ Steven T. Masada
24 Steven T. Masada
25
26 s/ Norman M. Barbosa
     NORMAN M. BARBOSA
27 Assistant United States Attorneys
28
     ORDER TO SEAL – DOOR - 1                                                   UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     CR12-5139BHS
                                                                                 SEATTLE, WASHINGTON 98101
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